      Case 2:15-cr-00236-JAM Document 142 Filed 01/16/18 Page 1 of 2


1

2

3

4                            UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,               No. 2:15-cr-236-GEB
8                    Plaintiff,
9        v.                                  ORDER
10   NELLI KESOYAN,
11                   Defendant.
12

13             On January 13, 2018, the United States of America filed

14   a motion, seeking “(1) leave of this Court to file a motion in

15   limine   past     the    January   5,       2018     deadline    in     the    Trial

16   Confirmation     Order    (dkt.    113)[;]         and   (2)    [for]    an    order

17   [authorizing] the government to admit the prior statements of

18   Razmik Bagdasaryan (“Bagdasaryan” or “Razmik”) at the trial of

19   defendant Nelli Kesoyan, pursuant to Federal Rule of Evidence

20   804(b)(6).”     Gov’t Mot. 1:19–22, ECF No. 141 (footnotes omitted).

21   Concerning     the   first    request,       the     United     States    provides

22   information showing that “on December 8, 2017, Razmik Bagdasaryan

23   boarded a flight from Sacramento to Armenia on a one-way ticket

24   without advising the government or his own attorney.”                         Id. at

25   2:5–6.   The United States explains it did not become aware of its

26   need to make its instant request under Federal Rule of Evidence

27   804(b)(6) until “the afternoon of January 10, 2018” following an

28   interview with Bagdasaryan’s daughter, Hasmik.                    Id. at 2:3–4.
                                             1
      Case 2:15-cr-00236-JAM Document 142 Filed 01/16/18 Page 2 of 2


1    Federal Rule of Evidence 804(b)(6) authorizes use of statements

2    “against       a    party      if   that        party     wrongfully      or    acquiesced      in

3    wrongfully causing . . . the declarant’s unavailability as a

4    witness, and did so intending that result.” The United States

5    explains: “When [Hasmik was] asked where her father was, Hasmik

6    stated that he had gone to Los Angeles, having left a couple of

7    days prior to the interview (or around January 8, 2018)[, and

8    w]hen [she was] asked when her father would be returning, she

9    stated that she did not know, but probably in a couple of days.”

10   Id.    at   9:26–10:1.              The    United       States     explains       in   light    of

11   Hasmik’s       statements,          investigators          began     trying       to   ascertain

12   Bagdasaryan’s whereabouts and discovered his departure to Armenia

13   during the prior month.                   Id. at 10:10–11:15.             The United States

14   motion also includes other assertions supporting its request to

15   file its untimely motion in limine.                        Therefore, the United States

16   motion is granted and the motion filed on January 13, 2018 is

17   considered timely on the date it was filed.

18                  Defendant        has       leave    to     respond    to     the   government’s

19   Motion in Limine to Admit Prior Statements of Razmik Bagdasaryan

20   at    Trial,       ECF   No.    141,       no     later    than     12:00      p.m.    (noon)   on
21   Thursday, January 18, 2018.                       Any reply shall be filed by 4:30

22   p.m. on January 18, 2018.

23   Dated:      January 16, 2018

24

25

26
27

28
                                                        2
